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April 6, 2023

Via ECF

Honorable Denise L. Cote
U.S. District Judge for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 18B
New York, NY 10007

            RE:       United States v. James Velissaris, 22 cr. 105 (DLC)

Dear Judge Cote:

        We write this letter to bring to the Court’s attention that we believe one of Mr. Velissaris’
prior attorneys had a conflict of interest during part, if not the entire time he represented Mr.
Velissaris in this case. While drafting a declaration for Mr. Velissaris, we learned that attorney
Michael Krouse had applied for the position of Director of Enforcement of the Commodities and
Futures Exchange Commission (“CFTC”) during the same time that he and his firm were
representing Mr. Velissaris in both criminal and civil trial matters pending in the SDNY. It is our
understanding that the CFTC was an active participant in the investigation of Mr. Velissaris that
led to his indictment in the criminal case now pending before your Honor. The record in these
matters shows that the CFTC filed suit against Mr. Velissaris in February, 2022, the same month
that Mr. Krouse and his firm were retained by Mr. Velissaris to represent him in the criminal case
and the civil cases, including the lawsuit filed by the CFTC.

       We do not know when Mr. Krouse applied for the position of Director of Enforcement with
the CFTC, but we have learned that his application was pending as of January 2023 when he first
raised the CFTC issue with Mr. Velissaris. (Please see the attached correspondence with
Mr. Krouse.) We also have reason to believe that Mr. Krouse’s application with the CFTC was
pending during the time that Mr. Krouse was advising Mr. Velissaris to plead guilty in the criminal
case.
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        We have concerns that the issue of a possible conflict of interest by Mr. Krouse, as he was
seeking employment with an agency that was and is still adverse to Mr. Velissaris, implicates
Section 1.7(a) and (b) of the NY Rules of Professional Conduct. In addition to the legal issues
currently under consideration by your Honor, we respectfully request that Mr. Krouse’s possible
violation of Rule 1.7 and its impact on this case and on Mr. Velissaris’ right to be represented by
counsel free of conflicts also be considered.

                                                      Sincerely,




                                                      William R. Martin
                                                      Attorney for James Velissaris



cc:    Margaret Graham, AUSA
       Michael K. Krouse, Esq.
       Paul J. Fishman, Esq.
       Veronica E. Callahan, Esq.
       Kathleen Reilly, Esq.
